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UHODWLRQVKLSVKRZDQGWRZKDWGHJUHHFDSLWDOPDUNHWVGHFUHDVHGWKHDPRXQWRILQFUHDVHLQFRVW

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     Case 1:17-cv-00173-BRW-CSM Document 87 Filed 07/24/18 Page 8 of 13



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       Case 1:17-cv-00173-BRW-CSM Document 87 Filed 07/24/18 Page 9 of 13



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